Case 1:06-cr-00119-MAC-ESH           Document 37           Filed 02/26/07   Page 1 of 3 PageID #:
                                            171




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                BEAUMONT DIVISION

UNITED STATES OF AMERICA                         §
                                                 §
V.                                               §             CASE NO. 1:06-CR-119(2)
                                                 §
DOUGLAS EUGENE SUND

                       REPORT AND RECOMMENDATION
                 ON DEFENDANT’S COMPETENCY TO STAND TRIAL

       Pursuant to 28 U.S.C. § 636(b) and the Local Rules for the United States District Court for

the Eastern District of Texas, this criminal proceeding is before the undersigned United States

Magistrate upon referral from the District Court. See Order of Referral. The Court now enters its

recommendation that the District Court find that Defendant, Douglas Eugene Sund, is competent for

sentencing based upon his plea of guilty.

       A.      Background

       On May 5, 2006, pursuant to the motion of counsel, the District Court entered an Order

directing the mental examination of Defendant to determine his competency to stand trial [Clerk’s

doc. #22]. In that order, the Court directed as follows:

       “pursuant to Title 18, United States Code, § 4244, it is ORDERED that Defendant, EUGENE

       DOUGLAS SUND, shall be scheduled for a local psychiatric examination to determine
Case 1:06-cr-00119-MAC-ESH            Document 37         Filed 02/26/07      Page 2 of 3 PageID #:
                                             172



       whether defendant suffers from any mental disease or condition to determine whether

       defendant is in need of any medications for the treatment of such disease. If it is found that

       defendant requires medication, the psychiatrist is to write such prescription(s) to be

       administered to the defendant by the U.S. Marshal Service.”

       On January 3, 2007, the local examiner, Dr. Edward Gripon, M.D., issued his report to the

District Court after evaluating Mr. Sund. Dr. Gripon concluded that Mr. Sund does not demonstrate

significant psychiatric problems, and he does not require psychotropic medication.

       On February 15, 2007, the Court conducted a hearing to determine Mr. Sund’s competency

for purposes of sentencing, to assess his need for medication as presented by the Defendant’s motion

for examination and the District Court’s order directing the examination, and to address the findings

set forth in the psychiatric report. Neither party objected to the examiner’s findings, and all parties

agreed that no further evaluation was necessary and the case should proceed to sentencing.

       B.      Conclusion and Recommendation

       Accordingly, the undersigned United States Magistrate recommends that the District Court

find Mr. Sund competent for purposes of sentencing pursuant to 18 U.S.C. § 4244.1

       C.      Objections

       Within ten (10) days after receipt of this report, any party may serve and file written

objections to the report and recommendation of the Magistrate Judge pursuant to 28 U.S.C. §

636(b)(1)(c). Failure to file written objections to the proposed findings of facts, conclusions of law


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         18 U.S.C. § 4244 governs the evaluation of the mental condition of
convicted defendants, while 18 U.S.C. § 4241 applies to the determination of
competency to stand trial. Because Judge Crone already conducted a plea hearing
and accepted Mr. Sund’s plea of guilty, he is currently awaiting sentencing. The
parties, therefore, agree that the instant issues of competency only relate to
that proceeding. Accordingly, Section 4244 applies.

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Case 1:06-cr-00119-MAC-ESH           Document 37        Filed 02/26/07      Page 3 of 3 PageID #:
                                            173



and recommendations contained within this report within ten (10) days after service shall bar an

aggrieved party from de novo review by the District Judge of the proposed findings, conclusions and

recommendations, and from appellate review of factual findings and legal conclusions accepted by

 . District Court except on grounds of plain error. Douglass v. United Serv. Auto. Ass’n., 79 F.3d
the

1415 (5th Cir. 1996) (en banc); 28 U.S.C. § 636(b)(1). The constitutional safeguards afforded by

Congress and the courts require that, when a party takes advantage of his right to object to a

magistrate’s findings or recommendation, a district judge must exercise its nondelegable authority

by considering the actual evidence and not merely by reviewing and blindly adopting the magistrate’s

report and recommendation. See Hernandez v. Estelle, 711 F.2d 619, 620 (5th Cir. 1983); United

States v. Elsoffer, 644 F.2d 357, 359 (5th Cir. 1981) (per curiam).


                   SIGNED this the 26th day of February, 2007.




                                                       ____________________________________
                                                       KEITH F. GIBLIN
                                                       UNITED STATES MAGISTRATE JUDGE




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